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      Federal Defender
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      Assistant Federal Defender
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6     Attorneys for Defendant
      ALVARO COBIAN GOMEZ
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8
                                         UNITED STATES DISTRICT COURT
9
                                      EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                           Case No. 2:07-cr-248-07 WBS
12
                            Plaintiff,                    STIPULATION AND [PROPOSED] ORDER
13                                                        TO EXTEND BRIEFING SCHEDULE
              v.
14                                                        Judge: Honorable WILLIAM B. SHUBB
      ALVARO COBIAN GOMEZ,
15
                            Defendant.
16
17
              Defendant Alvaro Cobian Gomez, by and through his attorney, Assistant Federal
18
      Defender Hannah R. Labaree, and plaintiff, United States of America, by and through its
19
      counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate to extend the briefing schedule
20
      previously set (CR 1407). The defense supplement to the Motion to Reduce Sentence shall be
21
      filed no later than October 17, 2016; the government reply shall be filed no later than November
22    7, 2016; and an optional defense response shall be filed no later than November 21, 2016.
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      Stipulation and Order to extend briefing schedule    1
     Case 2:07-cr-00248-WBS-DB Document 1427 Filed 08/23/16 Page 2 of 3



1     Respectfully submitted,
2     Dated: August 23, 2016                              Dated: August 23, 2016
3     BENJAMIN B. WAGNER                                  HEATHER E. WILLIAMS
      United States Attorney                              Federal Defender
4
       /s/ Jason Hitt                                     /s/ Hannah R. Labaree
5     JASON HITT                                          HANNAH R. LABAREE
      Assistant U.S. Attorney                             Assistant Federal Defender
6
      Attorney for Plaintiff                              Attorney for Defendant
7     UNITED STATES OF AMERICA                            ALVARO COBIAN GOMEZ
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      Stipulation and Order to extend briefing schedule      2
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1                                                         ORDER
2             Pursuant to the parties’ stipulation, and good cause appearing therefor, the briefing
3     schedule is extended as follows: Defense supplement is due on October 17, 2016, the
4     government’s reply is due on November 7, 2016 and an optional defense response is due on
5     November 21, 2016.
6     Dated: August 23, 2016
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      Stipulation and Order to extend briefing schedule     3
